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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT

 UCB, INC., UCB PHARMA GMBH, and                  )
 LTS LOHMANN THERAPIE-SYSTEME                     )
 AG,                                              )
                                                  )
                        Plaintiffs,               )
                                                  )   C.A. No. 19-cv-128-CR
                v.                                )
                                                  )
 MYLAN TECHNOLOGIES, INC.,                        )
                                                  )
                        Defendant.                )



    MOTION FOR EXTENSION OF TIME PURSUANT TO FRAP 4(a)(5), OR IN
  THE ALTERNATIVE TO RECOGNIZE PRIOR FILING AS NOTICE OF APPEAL

       Judgment was entered in this case on June 8, 2021, pursuant to an agreement and

stipulation by the parties to be bound by the decision in UCB, Inc. et. al. v. Actavis Laboratories

UT, Inc., Civ. No. 1-19-cv-00474 (District of Delaware) (the “Delaware Action”), wherein the

parties preserved their rights to appeal. Doc. 138. Pursuant to Fed. R. App. P. (4)(a)(1), the

deadline to file a Notice of Appeal expired 30 days after the entry of judgment, or July 8, 2021.

Plaintiffs, however, failed to formally file a Notice of Appeal in this action by this date because

counsel mistakenly neglected to docket the judgment that would have generated a calendar

reminder for the notice. For the reasons set forth herein and in the attached Declarations of James

Trainor and Matthew Campion, Plaintiffs now move the court for an extension of time to file a

Notice of Appeal pursuant to Fed. R. App. P. 4(a)(5) or in the alternative for a ruling that the

notice of appeal requirements were timely met either by the notice of appeal in the Delaware

Action or because the functional equivalent was filed here. Plaintiffs’ counsel conferred with

Mylan’s counsel prior to filing this motion; Mylan has not yet posited whether it consents to or

opposes this motion.

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                       MEMORANDUM IN SUPPORT OF MOTION
                  FOR EXTENSION OF TIME PURSUANT TO FRAP4(a)(5)

       Pursuant to Fed. R. App. P. 4(a)(5), a district court may extend the time to file a Notice

of Appeal if: (i) “a party so moves no later than 30 days after the time prescribed by this Rule

4(a) expires;” and (ii) “that party shows excusable neglect or good cause.” Here, the Court should

grant Plaintiffs’ motion to extend the time to file a Notice of Appeal because: (1) Plaintiffs have

filed the instant motion one (1) day after the filing deadline as prescribed in Rule 4(a); (2) there

is no prejudice to Defendants; and (3) Plaintiffs’ failure to file the Notice of Appeal was the result

of “excusable neglect.” This determination is within the district court’s discretion and may be

overturned only for abuse of discretion. Williams v. KFC Nat’l Mgmt. Co., 391 F.3d 411, 415

(2d Cir. 2004).

       In the alternative, because the judgment being appealed from is, in reality, the judgment

in UCB, Inc. et. al. v. Actavis Laboratories UT, Inc., Civ. No. 1-19-cv-00474 (District of

Delaware) (the “Delaware Action”), which Plaintiff timely filed a notice of appeal of on May 3,

2021—before this Court’s June judgment incorporating the Delaware Action judgment—that

notice should operate as a notice of appeal here under Fed. R. App. P. 4(a)(2). Further, because

multiple submissions by the parties, including the stipulation and judgment that the Court entered

on June 8, 2021 (Doc. 138) satisfy the requirements of Fed. R. App. P. 3, Plaintiffs have at least

constructively satisfied the requirement for filing a timely notice of appeal of that judgment, in a

manner recognized by the Supreme Court and Second Circuit.

      All Four Factors Evaluated for Excusable Neglect Favor Granting this Motion

       In         determining      the      question       of      excusable        neglect,      the

Supreme Court has instructed courts to consider four factors: “[1] the danger of prejudice to the

nonmoving party, [2] the length of delay and its potential impact on judicial proceedings, [3] the


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reason for the delay, including whether it was within the reasonable control of the movant, and

[4] whether the moving party’s conduct was in good faith.” Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. P’ship., 507 U.S. 380 (1993). The Supreme Court explained that the determination

of whether any neglect is excusable “is at bottom an equitable one, taking into account all of the

relevant circumstances surrounding a parties’ omission.” Id. at 395; see also Williams, 391 F.3d

at 415 (observing that the Supreme Court test in Pioneer was a liberal test).

       Here, all four Pioneer factors favor granting Plaintiff’s motion to extend time to file a

Notice of Appeal. First, there is no danger of prejudice to the Defendant, given that the parties

agreed to, and the Court endorsed, entering the judgment from a related case, for which Plaintiffs

had already filed a Notice of Appeal. See Doc. 138 at 2. Moreover, the parties specifically noted

there would be an appeal of the same judgment from the Delaware Action on the same record for

which a Notice of Appeal had already been filed. See id.; see also Doc. 125, 126, 128-0, 128-1

at 2, 128-2 at 2, Declaration of James S. Trainor (“Trainor Decl.”) Ex. 2 at 4:12-25 (Mylan’s

counsel acknowledging that appeal would be consolidated or stayed in light of Delaware Action

Appeal); see id. at 6:11-25 (Plaintiffs’ counsel and Court acknowledging that consolidated appeal

would follow). Further, Plaintiffs’ opening brief in the appeal of the Delaware Action is not due

for nearly a month; as such, Mylan has plenty of time to evaluate, e.g., whether to seek to stay its

own appeal or to seek its consolidation with the appeal from the Delaware court. Thus, the

Defendant will not be prejudiced if the Court grants the motion to extend time as the nature of

appeal envisioned here was negotiated between the parties and presented to the Court as part of

the rather unusual resolution of this action, discussed in more detail below.

       Second, the length of the delay and potential impact on judicial proceedings is minimal.

Plaintiffs are filing a Notice of Appeal concurrently with this motion. Given that Plaintiffs have

filed the instant motion one (1) day after the deadline to file a Notice of Appeal, any incidental

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delay will not affect judicial proceedings. See, e.g., Roberts v. Roberts, No. 2:18-cv-00091, 2019

U.S. Dist. LEXIS 59465, *12-13 (D. Vt. Mar. 26, 2019) (finding untimely appeal was caused by

excusable neglect and granting one-day extension of time even without a motion because there

was “‘no danger of prejudice to the [non-movant],’ the amount of delay was minimal, and

Appellant acted in good faith”); see also Williams, 391 F.3d at 415-416 (affirming grant of

extension of time to file notice of appeal that was not filed until three weeks after the deadline

passed). Further, as noted above, Mylan still will have ample time to seek to consolidate its

appeal with the appeal of the Delaware Action, or seek to stay its appeal pending resolution of

the appeal of the Delaware Action. Thus, both the very short length of the delay of one day and

the lack of effect on any judicial proceedings favors finding excusable neglect.

        Third, the reason for the delay—mistake on the part of Plaintiffs’ counsel—has been

found to support a finding of excusable neglect in similar cases. See, e.g., Williams, 391 F.3d at

415-416. The Supreme Court in Pioneer adopted a liberal test for determining “excusable

neglect,” specifically rejected “a rigid barrier against late filings attributable in any degree to the

movant’s negligence,” and noted that the word neglect “encompasses both simple, faultless

omissions to act and, more commonly, omissions caused by carelessness.” Pioneer, 507 U.S. at

388, 395 n.14. The circumstances leading up to the rather unusual form of judgment in this case

are important in assessing the excusable neglect in this case.

        On February 19, 2021, this Court approved and ordered the parties’ joint stipulation to

extend post-trial and trial dates based on the impending decision in the Delaware Action, with

the understanding that the parties would update the Court as soon as judgment in that action was

entered. Doc. 120. On April 22, 2021, the parties gave notice that a final decision had been

rendered in the Delaware Action concluding that the asserted claims of the ’589 Patent are invalid.

Doc. 124. The parties then informed the Court that they were conferring on a resolution to this

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still-pending action in light of the Delaware Action. Doc. 126. On May 14, 2021, after conferring

several times in an effort to come to a resolution that was acceptable to both parties, Plaintiffs

and Defendant filed a Joint Stipulation and Proposed Order to Stay. Doc. 128. The stipulation

provided that the parties would agree to stay the instant matter pending the outcome of Plaintiffs’

appeal in the Delaware Action and agree to be bound by the decision of the Federal Circuit in

that matter. Id.

       On June 2, 2021, this Court held a status conference and denied the parties’ request for a

stay and ordered parties to reach a resolution or proceed to trial as scheduled on July 19, 2021.

The parties continued to confer and on June 7, 2021 presented the Court with a revised proposal

for adopting the final judgment and trial record in the Delaware Action, and dismissing the

remaining patent-in-suit.     Doc. 133. During this status conference, Mylan’s counsel

acknowledged that an appeal would follow and offered that the parties would either consolidate

the appeal or stay the appeal pending the outcome of the Delaware Action. Trainor Decl. Ex. 2

at 4:12-25. Plaintiffs’ counsel also stated that the purpose of the proposed judgment for the appeal

to be taken in step with the pending Delaware Action appeal, and the Court noted that the

stipulation could be characterized as a stipulation to judgment and consolidated appeal based on

its understanding of the intent of the parties. Id at 5:24-6:21. The parties submitted a joint

proposal consistent with this understanding on June 8, 2021, which the Court approved and

entered on the same day. Docs. 137-138. Due to the changing nature of the proposed resolution

in this case and the atypical form of the final stipulation and judgment, Plaintiffs’ non-attorney

paralegal in charge of the docketing of these matters misunderstood the nature of the final

judgment as a stipulation that required no further docketing. See Declaration of Matthew

Campion (“Campion Decl.”) ¶¶ 6-8. As explained in the Trainor Declaration, Plaintiffs’ counsel

and paralegal have worked together for many years without any such incident. See Trainor Decl.

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¶ 2; Campion Decl. ¶ 5. Further, it is Plaintiffs’ counsel’s practice to rely on the docketing

calendar maintained by its paralegals to provide reminders of upcoming deadlines. See Trainor

Decl. ¶ 6. In doing so, and in light of the paralegal’s misunderstanding of the nature of the final

judgment and stipulation entered in this action, Plaintiffs’ counsel did not receive reminders of

the deadline for filing a notice of appeal in this case and inadvertently missed the filing deadline

by one day. See Trainor Decl. ¶ 6; Campion Decl. ¶¶ 7-8.

         Finally, nothing here suggests that Plaintiffs have acted in bad faith. Rather, Plaintiffs’

attorney, relying on internal systems for docketing, missed the filing deadline for the Notice of

Appeal. Moreover the fact that, immediately upon realizing that the deadline had not been

docketed, Plaintiffs’ counsel contacted opposing counsel and filed the instant motion, and the

Notice of Appeal, one day after the deadline to file a Notice of Appeal demonstrates that Plaintiffs

are acting in good faith. As an appeal of the same judgment entered on the same record adopted

in this action has already been docketed, and as Defendant has been on notice at least since May

3, 2021 that the appeal of the Delaware Action was noticed, there is no evidence of a lack of good

faith.

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

to extend time to file a Notice of Appeal pursuant to Fed. R. App. P. 4(a)(5).

      Plaintiffs Have Timely Filed a Notice of Appeal Either by Incorporation of the
     Timely Notice Filed for the Delaware Action or by Satisfying FRAP 3 in this Case

         In the alternative (and further supporting that neglect in this case is uniquely “excusable”),

the requirements for a notice of appeal were timely met because the Court incorporated and

adopted that same judgment in the Delaware Action and Plaintiffs had already filed a timely notice

of appeal of the judgment in that case. See Campion Decl., Exhibit A (showing Delaware Action,

Docket Entry 200 (Notice of Appeal on May 3, 2021). In these unusual circumstances, the


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stipulated judgment itself refers to the appeal of the incorporated judgment. Doc. 138 at 2

(“Plaintiffs appealed the judgment in the Delaware Action”). Thus, when the Court entered the

order and judgment in this case on June 8, 2021, incorporating the judgment from the Delaware

Action, Plaintiffs had already filed a notice of appeal of that judgment and Mylan was plainly on

notice of it, both through the filing of the Notice of Appeal in the Delaware Action and the

stipulation in this case, which itself provides notice of the appeal. That is, an earlier filed notice

should be effective in this case as of when the Court adopted the same judgment here on June 8,

2021. See F.R.A.P. 4(a)(2); cf. King v. W.W. Grainger, Inc., No. 2:11-cv-00016-SA-JMV, 2012

WL 777310, at *1 (N.D. Miss. Mar. 8, 2012) (treating notice of appeal filed after Report and

Recommendation “as filed on the date of entry of this Final Judgment since the court has adopted

the subject Report and Recommendation.”).

       Moreover, the Second Circuit has recognized an appeal as timely filed even though a

formal notice of appeal was not filed when correspondence otherwise satisfied the requirements

of Fed. R. App. P. 3. See Haugen v. Nassau County Dept. of Social Servs., 171 F.3d 136, 138 (2d

Cir. 1999) (holding that Appellant’s appeal was timely even without a formal notice of appeal

where it sent a letter that met nominally the requirements of Fed. R. App. P. 3, even with some

defects in the naming of the parties). As the Second Circuit noted, “As a general matter, a notice

of appeal (1) “must specify the party or parties taking the appeal,” (2) “must designate the

judgment, order, or part thereof appealed from,” and (3) “must name the court to which the appeal

is taken. Id.; see also id. (quoting Smith v. Barry, 502 U.S. 244, 248, (1993) (“[a]n appeal will not

be dismissed for informality of form or title of the notice of appeal, or for failure to name a party

whose intent is otherwise clear from the notice . . . Indeed the court may honor any document

that serves the ‘functional equivalent’ of a notice of appeal.” (emphasis added)). Here the

parties’ stipulation and judgment that the Court entered likewise satisfies Fed. R. App. P .3 and

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would be effective as of June 8, 2021, when the judgment was entered. Doc. 138. It identifies the

parties appealing (Plaintiffs), the judgment or order appealed from (the judgment in the Delaware

Action forming the basis of the judgment here) and, by reference to the Notice of Appeal in

Delaware which specified the Federal Circuit, Defendant had notice of all the requirements of Fed.

R. App. P. 3. Doc. 138 at 2; Delaware Action Doc. 200 (Notice of Appeal to the Federal Circuit).

Further, where, as here, there is only one court to which an appeal may be taken (the Federal

Circuit for patent cases), Mylan also had notice of the court to which an appeal was taken, even if

was not expressly included in the notice. See e.g., Barrett v. United States, 105 F.3d 793, 795-796

(2d. Cir. 1996); see also McLemore v. Landry, 898 F.2d 996, 999–1000 (5th Cir. 1990).

       For the foregoing reasons, Plaintiffs respectfully submit that they have satisfied the

requirements sufficient for the Court to recognize and rule that a timely notice of appeal has been

made in this case.



 Dated: July 9, 2021                                By: /s/Ritchie E. Berger
                                                    Ritchie E. Berger
                                                    Kendall A. Hoechst
                                                    Dinse P.C.
                                                    209 Battery Street, P.O. Box 988
                                                    Burlington, VT 05401
                                                    (802) 864-5751
                                                    rberger@dinse.com
                                                    khoechst@dinse.com

                                                    James S. Trainor, Jr.
                                                    Kevin X. McGann
                                                    Catherine H. McCord
                                                    Silvia M. Medina
                                                    FENWICK & WEST LLP
                                                    902 Broadway, Suite 14
                                                    New York, NY 10010
                                                    (212) 430-2600

                                                    Jack B. Blumenfeld
                                                    Derek J. Fahnestock

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                                          Anthony D. Raucci
                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                          1201 North Market Street
                                          P.O. Box 1347
                                          Wilmington, DE 19899
                                          (302) 658-9200

                                          Counsel for Plaintiffs
                                          UCB, INC., UCB PHARMA GMBH, and LTS
                                          LOHMANN THERAPIE-SYSTEME AG


                      APPROVED AND SO ORDERED



Dated at Burlington in the District of Vermont this ___ day of ________________, 2021

                                                   _____________________________
                                                   Christina Reiss, Judge
                                                   United States District Court
                                                   District of Vermont




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